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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG,                             :      CIVIL ACTION
       Plaintiff,                              :
                                               :
      v.                                       :      No. 20-3822
                                               :
JAMES C. HAGGERTY, et al.,                     :
         Defendants.                           :

                                       ORDER

      AND NOW, this 30th day of November 2020, upon consideration of the

Notice of Supplemental Authority (ECF No. 27) filed by Plaintiff, it is hereby

ORDERED and DECREED that Plaintiff’s Notice of Supplemental Authority

(ECF No. 27) is STRICKEN from the record. The parties are advised not to file a

notice of supplemental authority unless, since the time of oral argument, a new

case is published that specifically speaks to Rule of Professional Conduct 8 as

adopted by Pennsylvania and is at issue here or a new case is published from a

circuit court addressing issues relevant to the issues here.


                                                      BY THE COURT:

                                                      /s/ Chad F. Kenney

                                                      CHAD F. KENNEY, JUDGE




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